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                        IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
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                                  SAVANNAH DIVISION                                         cr

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  UNITED STATES OF AMERICA
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                   V.
                                                                                            -'a
                                                 CRIMINAL CASE NQ                            -1

  HEYS EDWARD MCMATH III,                        4;13-CR-00003
  STEPHEN MICHAEL LITTLE,
  ROBERT WILSON DAILEY,
  JAY PATRICK GARDNER,
  ISAAC JEFFERSON MULLING,
  ALAN ROBERT FLEMING,and
  JEFFREY ALLEN FARRELL,

            Defendants.



                                                 ORDER


            WHEREFORE upon consideration of Defendant Jeffrey Allen Farrell's

   unopposed Motion to Release Passport in the above captioned case and for good

   cause shown, said Motion is hereby GRANTED. The United States Probation

   Office is directed to release possession of Mr. Farrell's passport to him by returning

   his passport, via overnight mail, to his counsel in this m^er.

            This          day of June, 2017.


                                                      lodbey Wood
                                                  fdge. Southern District of Georgia

   Order Prepared by: Robert M. Brennan, Esq.




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